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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

GRACE L. STOVALL,                                               )
                                                                )        Case No. 17 C 4762
                                    Plaintiff,                  )
                                                                )        Judge Lee
      v.                                                        )
CITY OF CHICAGO, et al.,                                        )
                                                                )
                                    Defendants.                 )


                                   DEFENDANTS’ STATUS REPORT1



    (a) Progress of Discovery:

The discovery in this case is complete. At Plaintiff’s request, this Court granted Plaintiff
additional time for discovery. Since this Court’s order Defendants are unaware of any actions
taken by Plaintiff to schedule any depositions, issue any written discovery or send any
subpoenas. Discovery closed by Court order on July 16, 2020.

    (b) Status Of Briefing On Any Unresolved Motions:

Defendants intend to file a motion for summary judgment and anticipate this motion if granted
could be fully dispositive. Taking into account this Court’s prior order the briefing schedule is
as follows:

    •    Dispositive Motions Due: August 14, 2020
    •    Responses to Motions Due: September 25, 2020
    •    Reply Briefs Due: October 15, 2020

    (c) Proposed 60 Day Schedule:

See (b) above.

    (d) Proposed Revised Discovery and Dispositive Motion Schedule:

See (b) above.



1Defendants contacted Plaintiff by email to discuss the filing of a Joint Status Report. Plaintiff did not respond to
Defendants’ attempts to contact her.
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   (e) Agreed Action Without Court Hearing:

None.

   (f) Any Needs Requiring a Telephonic Status Hearing:

None.

Dated: July 20, 2020



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